     Case: 1:21-cv-04595 Document #: 132 Filed: 03/15/24 Page 1 of 2 PageID #:3990




        UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT
                                        Case No. 24-______

CUTBERTO VIRAMONTES, et al.,                         On Appeal from the United States District
                                                     Court for the Northern District of Illinois
                       Plaintiffs,

v.                                                   Case No. 1:21-cv-04595

                                                     Hon. Rebecca R. Pallmeyer
THE COUNTY OF COOK, et al.,

                       Defendants.


                                     DOCKETING STATEMENT

        Plaintiff Cutberto Viramontes, Christopher Khaya, Second Amendment Foundation, and

Firearms Policy Coalition, Inc., allege that Cook County ordinances violate the Second and

Fourteenth Amendments to the United States Constitution. Plaintiffs bring those claims against

the County of Cook, Toni Preckwinkle, in her official capacity as the County Board President and

Chief Executive Officer of the County, Kimberly Foxx, in her official capacity as State’s Attorney

for the County, and Thomas Dart, in his official capacity as Sheriff for the County, under 42 U.S.C.

§ 1983. The district court had jurisdiction under 28 U.S.C. §§ 1331, 1343. On March 1, 2024, the

District Court denied Plaintiffs’ motion for summary judgment, granted Defendants’ motion for

summary judgment, and denied Defendants’ motion to strike as moot. See Opinion and Order,

Doc. 129; Judgment, Doc. 130.

        On March 15, 2024, Plaintiffs filed a notice of appeal of the District Court’s order and

judgment. Plaintiffs appeal to the United States Court of Appeals of the Seventh Circuit. The

Seventh Circuit has jurisdiction under 28 U.S.C. § 1291. This appeal is timely because Plaintiffs

filed their notice of appeal 14 days after the District Court’s judgment. See Fed. R. App. P. 4.
 Case: 1:21-cv-04595 Document #: 132 Filed: 03/15/24 Page 2 of 2 PageID #:3991




Dated: March 15, 2024                          Respectfully Submitted,

                                               /s/ David H. Thompson
David G. Sigale (Atty. ID# 6238103)            David H. Thompson
LAW FIRM OF DAVID G. SIGALE, P.C.                Counsel of Record
55 West 22nd Street,                           Peter A. Patterson
Suite 230                                      William V. Bergstrom
Lombard, IL 60148                              COOPER & KIRK, PLLC
(630) 452-4547                                 1523 New Hampshire Ave., N.W.
dsigale@sigalelaw.com                          Washington, D.C. 20036
                                               (202) 220-9600
                                               (202) 220-9601 (fax)
                                               dthompson@cooperkirk.com
                                               ppatterson@cooperkirk.com
                                               wbergstrom@cooperkirk.com


                        Attorneys for Plaintiffs- Appellants
